                     Case 1:05-cr-00150-OWW Document 30 Filed 10/20/05 Page 1 of 6
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     v.                                                  (For Offenses Committed On or After November 1, 1987)
          CAMMIE KAY COVARRUBIAS                                         Case Number: 1:05CR00150-002


                                                                         Richard Beshwate, Jr.
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to cou nt(s): Augus t 1, 200 5 of the Indictm ent .
[]       pleaded nolo con tendere to coun ts(s)       which wa s ac cep ted by the co urt.
[]       was foun d guilty on coun t(s)    after a plea of n ot guilty.

ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following offense(s):
                                                                                            Date Offense             Count
Title & Section                     Nature of Offense                                       Concluded                Num ber(s)
18 USC 1708 and 2                   Possession of Stolen Mail and Aiding and                10/24/2004               One
                                    Abetting




       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendan t has been fou nd not guilty on coun ts(s)          and is discharged as to such c ount(s).

[]       Coun t(s)     (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[]       Appeal rights given.                          [U]       Appeal rights waived.

        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                         October 14, 2005
                                                                                   Date of Imposition of Judgment


                                                                                      /s/ OLIVER W . WAN GER
                                                                                     Signature of Judicial Officer


                                                                       OLIVER W. WANGER , United States District Judge
                                                                               Nam e & Title of Judicial Officer

                                                                                           October 19, 2005
                                                                                                Da te
                   Case 1:05-cr-00150-OWW Document 30 Filed 10/20/05 Page 2 of 6
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:              1:05CR00150-002                                                                 Judgment - Page 2 of 6
DEFENDANT:                CAMMIE KAY COVARRU BIAS



                                                        IMPRISONMENT
         The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of time served .




[]      The court makes the following recomm endations to the Bureau of Prisons:




[]      The defendant is rem anded to the custo dy of the U nite d State s M arshal.


[]      Th e de fendan t shall surren der to the U nited S tates Ma rshal for this district.
        [ ] at     on     .
        [ ] as notified by the Un ited Sta tes Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the Un ited Sta tes Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no s uch institution has bee n de signated , to the U nited S tates Ma rshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                         By
                                                                                                  Deputy U.S. Marshal
                     Case 1:05-cr-00150-OWW Document 30 Filed 10/20/05 Page 3 of 6
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                1:05CR00150-002                                                                            Judgment - Page 3 of 6
DEFENDANT:                  CAMMIE KAY COVARRU BIAS


                                                 SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 1:05-cr-00150-OWW Document 30 Filed 10/20/05 Page 4 of 6
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               1:05CR00150-002                                                             Judgment - Page 4 of 6
DEFENDANT:                 CAMMIE KAY COVARRU BIAS


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of her person, property, home, and vehicle by a United
              States Probation Officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall provide the probation officer with access to any requested financial
              information.

         3.   The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.

         4.   As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         5.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if she has reverted to the use of drugs or alcohol.

         6.   The defendant shall comply with the conditions of home detention for a period of 120
              consecutive days to commence when directed by the probation officer. During this time, the
              defendant will remain at place of residence except for employment and other activities approved
              in advance by the defendant’s probation officer. The defendant will maintain telephone service
              at her place of residence without an answering device, call forwarding, a modem, caller ID, call
              waiting, or a cordless telephone for the above period.

              At the discretion of the probation officer, the defendant shall wear an electronic monitoring
              device and follow electronic monitoring procedures as specified by her probation officer. The
              defendant shall pay the cost of electronic monitoring as determined by the probation officer.

         7.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

         8.   The defendant shall cooperate in the collection of DNA as directed by the probation officer.
                      Case 1:05-cr-00150-OWW Document 30 Filed 10/20/05 Page 5 of 6
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:05CR00150-002                                                                             Judgment - Page 5 of 6
DEFENDANT:                    CAMMIE KAY COVARRU BIAS


                                          CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessm ent                         Fine                     Restitution
        Totals:                                      $ 100.00                            $                        $ 60.00


[]      The determ ination of restitution is deferred until      . An Am ended Judgm ent in a Criminal Case (AO 245C) will be entered
        after suc h de term ination.

[ x]    The defendant must m ake restitution (including comm unity restitution) to the following payees in the amount listed below.

        If the defenda nt m akes a partial payment, each payee shall receive an approximately proportioned payment, unless
        specified otherwise in the priority order or pe rcentag e pa ym ent colum n be low. However, pursuant to 18 U.S.C. § 366 4(i),
        all nonfederal victims m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                 Restitution Ordered       Priority or Percentage

Surend ra Dara                                          $60.00                        $60.00

        TOTALS:                                      $ 60.00                         $60.00




[]      Restitution amount ordered pursuant to plea agreement $

[]      The defendant must pay interest on restitution and a fin e of m ore than $2,50 0, unless the res titution or fine is paid in full
        before the fiftee nth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
        6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

[ ]        Th e co urt de term ined that the defe nda nt does n ot have the ability to pay intere st and it is ordered that:

        [ ] The interest requirement is waived for the               [ ] fine           [ ] restitution

        [ ] The interest requirement for the                [ ] fine [ ] restitution is m odified as fo llows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
comm itted on or after September 13, 1994, but before April 23, 1996.
                     Case 1:05-cr-00150-OWW Document 30 Filed 10/20/05 Page 6 of 6
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 1:05CR00150-002                                                                              Judgment - Page 6 of 6
DEFENDANT:                   CAMMIE KAY COVARRU BIAS

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [U]           Lump sum payment of $            160.00 due imm ediately, balance due

           []      not later than    , or
           []      in acc orda nce with          [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Payment to begin imm ediately (may be combined with                   [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Pa ym ent in equal    (e.g., weekly, monthly, quarterly) installments of $   over a period of               (e.g., months or years),
         to comm ence       (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Pa ym ent in equal    (e.g., weekly, monthly, quarterly) installments of $ over a period of   (e.g., months or years),
         to comm ence       (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of s upervised rele ase will comm ence within        (e.g., 30 or 60 days) after release from
         imprisonm ent. Th e court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
         or

F    [ ] Special instruc tions rega rding the paym ent of crim inal m one tary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent impo ses im prisonm ent, paymen t of criminal mo netary
penalties is due during imprisonment. All criminal monetary penalties, except those payments m ade through the Federal Bureau
of Prisons' Inm ate F inancial Resp ons ibility Program , are m ade to the c lerk of the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-De fendan t Nam es a nd C ase Num bers (includ ing de fendan t num ber), Total Amount, Joint and Several
Am oun t, and corresp ond ing pa yee, if approp riate:




[]   The defendant shall pay the cost of prosecution.

[]   Th e de fendan t shall pay the following cou rt cos t(s):

[]   Th e de fendan t shall forfeit the defe nda nt’s interest in the follow ing prope rty to the U nited S tates:
